                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


C. S. and D.T.,

                        Plaintiffs,                         Civil Action No. 2:25-cv-477

        v.                                                  Hon. William S. Stickman IV

KRISTI NOEM, et al,

                        Defendants.


                                         HEARING MEMO

                               HEARING HELD: Motion Hearing
                             DATE HEARING HELD: April 15, 2025
                             BEFORE: Judge William S. Stickman IV

Appearing for Plaintiffs:                             Appearing for Defendants:
Adrian Roe, Esquire                                   Samantha Stewart, Esq.
Robert Whitehill, Esquire                             Adam Fischer, Esq.

Hearing began at 11:34 AM                             Hearing concluded at 2:21 PM

Stenographer: Melissa Moore

                                               WITNESSES:

Aryaman Shandilya (Plaintiff C.S.) and Pratik Adhikari (Plaintiff D.T.) testified.

                                               EXHIBITS:

Plaintiffs’ Exhibits 1, 2, 3, 4, 5 admitted.

                                               OUTCOME:

The Court heard argument on Plaintiffs’ Motion for Order Directing that Action be Conducted in
Manner that Prevents Public Disclosure of Personally Identifying Information (ECF No. 2). The
motion was denied for the reasons set forth on the record. Plaintiffs must proceed under their full
names, and their identities must be disclosed on the docket and provided to the Government. The
Clerk’s Office will be directed to amend the caption to reflect the Plaintiffs’ full names.

The Court ordered that Plaintiffs be brought to court without obstruction to present whatever
testimonial evidence they, through counsel, believe is necessary for litigating their Motion for a
Temporary Restraining Order (ECF No. 7). Plaintiffs testified. Parties presented oral argument.

The Court grants in part and denies in part the Motion for a Temporary Restraining Order (ECF No.
7) for the reasons set forth on the record. The appropriate order will follow.
